     8:19-cr-00181-CRI       Date Filed 03/04/19     Entry Number 133        Page 1 of 1




                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENWOOD DIVISION

UNITES STATES OF AMERICA,           )
                                    )
                                    )
v.                                  )
                                    )
Jamal Demarcus Latimer,             )
                    Defendant,      )              Cr. No.:8:19-cr-00181BHH
____________________________________)

                               NOTICE OF APPEARANCE

       Comes now, the undersigned counsel, who enters notice of appearance for Defendant

Jamal Demarcus Latimer for the pendency of this matter.

                                                   Respectfully submitted:


                                                   s/Stephanie A. Rainey
                                                   Stephanie A. Rainey, Fed. I.D. No: 7768
                                                   145 North Church Street, Suite 210
                                                   Spartanburg, SC 29306
                                                   Telephone: (864)573-1003
                                                   Facsimile: (864) 573-7660
                                                   Attorney for Jamal Demarcus Latimer
March 4, 2019
